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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                          24-CR-140 (PAE)
                        -v-
                                                                               ORDER
 JONATHAN MOYNAHAN LARMORE,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has received a notice of appearance from incoming defense counsel Bruce L.

Udolf, Esq., Dkt. 45, and has been notified by the Government that additional incoming counsel

for defendant Jonathan Larmore will file notices of appearance shortly, Dkt. 47. The Court has

also received a proposed motion to withdraw by current counsel, Dickinson Wright PLLC, Dkt.

46. The Court has also received a letter from the Government alerting it of a potential conflict

affecting incoming counsel, Dkt. 47. This conflict may, or may not, prove to be waivable and, if

waivable, may, or may not, ultimately be knowingly waived by the defendant.

       This order directs the following:

       1.      All deadlines in the case, including for oppositions to motions in limine and

replies to those oppositions, remain firmly in place, as does the trial date. The defendant’s

decision to attempt to substitute counsel less than two months before trial will not result in a

change in these deadlines.

       2.      The Court schedules an in-person Curcio hearing for Wednesday, September 4,

2024, at 2 p.m. The Court directs the Government, as it has promised to do so, see Dkt. 47, to

promptly file a letter on the docket of this case, setting forth its view of the applicable law and
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the questions to be put at the hearing to the defendant. Insofar as it will be necessary for the

defendant to consult with an independent counsel to assure that any waiver of the conflict is

knowing, the defendant may wish to retain a lawyer—completely independent of incoming

counsel—for this purpose now. Such would have the potential to expedite the waiver process

were the Court to find such pre-hearing consultation with independent counsel to obviate the

need for a follow-on hearing after the September 4 hearing. If not, that follow-on hearing would

likely be held on September 9, when a pretrial conference is already scheduled.

        3.      For obvious reasons, the Court will not rule on the motion to withdraw by

Dickinson Wright PLLC, until it has been determined that proposed successor counsel can

properly serve in this case. Otherwise, if the conflict affecting proposed successor counsel is

determined to be unwaivable or if the Court does not find a knowing waiver, the defendant, who

has not expressed interest in representing himself, would then be unrepresented. The Court

therefore will not treat, and counsel should not treat, the defendant’s attempt to terminate

Dickinson Wright PLLC in favor of a conflicted successor counsel as effective pending a

successful conflict waiver.

        4.      Dickinson Wright PLLC is to promptly furnish this order to the defendant and

file a letter on the docket of this case stating that it has done so.


        SO ORDERED.


                                                               PaJA.�
                                                         __________________________________
                                                               PAUL A. ENGELMAYER
                                                               United States District Judge
Dated: August 23, 2024
       New York, New York
